Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16   Page 1 of 48 PageID 12




                     EXHIBIT A
t
                                                                                                              FILED
    Case 3:16-cv-02045-N Document 1-2 4,-Filed
                                          •    07/13/16           Page 2 of 48 PageID 13 DALLAS COUNTY
                                                                                          3/30/2016 12:09:04 PM
                                                                                                 FELICIA PITRE
                                                                                               DISTRICT CLERK


                                                                                              Tonya Pointer
                                               DC-16-03674
                                  CAUSE NO.

      DEBORAH WILLIAMS, AS NEXT                          IN THE DISTRICT' COURT
      FRIEND OF LENOIR WAREING,
      INCOMPETENT

      VS.
                                                                  JUDICIAL DISTRICT
      SSC DALLAS OPERATING CO., LLC,
      INDIVIDUALLY AND d/b/a
      THE MEADOWS HEALTH AND
      REHABILITATION CENTER,
      SAVASENIORCARE                                     DALLAS COUNTY, TEXAS
      ADMINISTRATIVE SERVICES, LLC,
      SAVA SENIOR CARE CONSULTING,
      LLC, and SAVASENIORCARE, LLC.


                             PLAINTIFF'S ORIGINAL Pt I IION


      TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW DEOBORAH 'WILLIAMS, as Next Friend of LENOIR WAREING,

      who appears to be incompetent and who doctors have advised is incompetent,

      hereinafter referred to as Plaintiff, complaining of SSC DALLAS OPERATING CO., LLC,

      Individually and d/b/a THE MEADOWS HEALTH AND REHABILITATION CENTER,

      SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE

      CONSULTING, LLC, and SAVASENIORCARE, LLC, hereinafter referred to as

      Defendants, and would show the Court and Jury as follows:

                                              I.
                                           PARTIES

            1.     LENOIR WAREING appeared to be incompetent at all times pertinent to

      this cause of action and filing of such lawsuit, and the doctors advised that she was


     PLAINTIFFS ORIGINAL PETITION - Page 1
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 3 of 48 PageID 14




  incompetent at the time of the filing of the lawsuit. A Durable General Power of Attorney

  dated November 5, 2014, was fully executed by LENOIR WAREING empowering

  DEBORAH WILLIAMS as attorney in fact. Thus, DEBORAH WILLIAMS is executing the

  power of attorney to file the lawsuit on behalf of LENOIR WAREING, Individually. In

  the alternative, DEBORAH WILLIAMS filed this lawsuit as next friend of LENOIR

  WAREING, who appeared to be incompetent. There was no adverse interest between

  LENOIR WAREING and DEBORAH WILLIAMS. DEBORAH WILLIAMS is the closest

  relative of LENOIR WAREING. DEBORAH WILLIAMS, as Next Friend of Plaintiff

  LENOIR WAREING, are residents of Dallas, Dallas County, Texas.

        2.     Defendant SSC DALLAS OPERATING CO., LLC, Individually and d/b/a

  THE MEADOWS HEALTH AND REHABILITATION CENTER is a domestic limited

  liability company doing business in the State of Texas and holds its principal place of

  business in Texas at 5300 W. Sam Houston Pkwy., N, Houston, TX 77041. Defendant SSC

  DALLAS OPERATING CO., LLC, Individually and d/b/a THE MEADOWS HEALTH

  AND REHABILITATION CENTER may be served with process by serving its registered

  agent, CT Corporation Systems, 1999 Bryan Street, Suite 900, Dallas, TX 75201-3136.

        3.     Defendant SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, is a

  foreign limited liability company doing business in the State of Texas and holds its

  principal place of business in Texas at 5300 W. Sam Houston Pkwy., N, Houston, TX

  77041. Defendant SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC is the

  manager and supervisor of SSC DALLAS OPERATING CO., LLC, Individually and

  d/b/a THE MEADOWS HEALTH AND REHABILITATION CENTER. Defendant may


  PLAINTIFF'S ORIGINAL Phi i ION - Page 2
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 4 of 48 PageID 15




  be served with process by serving its registered agent, CT Corporation Systems, 1999

  Bryan Street, Suite 900, Dallas, TX 75201-3136.

        4.      Defendant SAVA SENIOR CARE CONSULTING, LLC, is a foreign limited

  liability company doing business in the State of Texas and holds its principal place of

  business in Texas at 5300 W. Sam Houston Pkwy., N, Houston, TX 77041. Defendant

  SAVA SENIOR CARE CONSULTING, LLC is the manager and supervisor of SSC

  DALLAS OPERATING CO., LLC, Individually and d/b/a THE MEADOWS HEALTH

  AND REHABILITATION CENTER. Defendant may be served with process by serving

  its registered agent, CT Corporation Systems, 1999 Bryan Street, Suite 900, Dallas, TX

  75201-3136.

        5.      Defendant SAVASENIORCARE, LLC, is a Delaware Corporation doing

  business in the State of Texas, whose principal place of business is located in Atlanta,

  Georgia. This Defendant can be served by serving its registered agent for services,

  Corporation Process Company, 328 Alexander Street, Suite 10, Marietta, Georgia 30060.

  Defendant SAVASENIORCARE, LLC is the owner and operator of Defendant

  SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE

  CONSULTING, LLC, and Defendant SSC DALLAS OPERATING CO., LLC, Individually

  and d/b/a THE MEADOWS HEALTH AND REHABILITATION CENTER.


                              DISCOVERY UNDER LEVEL 3

        1.      Pursuant to Tex. R. Civ. P. 190 et. seq., Plaintiffs move that discovery be

  conducted under a Level 3 discovery control plan. This is a medical negligence case



  PLAINTIFFS ORIGINAL PETITION - Page 3
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16               Page 5 of 48 PageID 16




  brought against multiple Defendants.

                                              M.
                                            NOTICE

         1.     Plaintiffs provided notice to Defendants in accordance with §74.051 of the

  Civil Practice and Remedies Code on February 5,2016, that Plaintiff intended to assert a

  health care liability daim arising out of the medical care rendered to LENOIR WAREING.

                                      IV.
                     JURISDICTION, VENUE, & TEXAS MEDICAL
                  LIABILITY AND INSURANCE IMPROVEMENT ACT

         1.     Venue is proper in Dallas County, Texas, because the cause of action

  accrued in Dallas County. Defendants SSC DALLAS OPERATING CO., LLC,

  Individually and d/b/a THE MEADOWS HEALTH AND REHABILITATION CENTER

  maintain an office at 8383 Meadow Rd. Dallas, TX 75231, and its principal place of

  business is in Dallas County. Jurisdiction is proper because the damages sought are

  within the jurisdictional limits of this Court.

         2.     Venue is proper in the State of Texas because Defendants SSC DALLAS

  OPERATING CO., LLC, Individually and d/b/a THE MEADOWS HEALTH AND

  REHABILITATION CENTER, SAVASENIORCARE ADMINISTRATIVE SERVICFS,

  LLC SAVA SENIOR CARE CONSULTING, LLC's principal place of business is located

  at 5300 W. Sam Houston Pkwy., N, Houston, TX 77041.

         3.     Plaintiffs' claims are brought in accordance with Chapter 74 of the Civil

  Practice & Remedies Code.




  PLAINTIFFS ORIGINAL Pis ION - Page 4
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 6 of 48 PageID 17




       4.     Plaintiffs aver that the damage limitation provisions contained in

 Chapter 74 of the Civil Practice & Remedies Code are unconstitutional under the United

 States Constitution and/or the Constitution of the State of Texas.

                                            V.
                                          FACTS

       1.     The incidents which form the basis of this lawsuit occurred in Dallas, Dallas

 County, Texas. At the time of the incidents described in Section V, LENOIR VVAREING

 was a resident of the Nursing Home.

       2.     At all relevant times, Defendant, SSC DALLAS OPERATING CO., LLC,

 was a licensed nursing home doing business in the State of Texas under the name of THE

 MEADOWS HEALTH AND REHABILITATION CENTER.

       3.     Defendants, SSC DALLAS OPERATING CO., LLC, Individually and d/b/a

 THE MEADOWS HEALTH AND REHABILITATION CENTER, SAVASENIORCARE

 ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and

 SAVASENIORCARE, LLC are companies that operate a long-term care facility for

 monetary profits in the State of Texas. Defendants, SSC DALLAS OPERATING CO.,

 LLC, Individually and d/b/a THE MEADOWS HEALTH AND REHABILITATION

 CENTER, SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR

 CARE CONSULTING, LLC, and SAVASENIORCARE, LLC, participated in the Medicare

 and Medicaid programs. By reason of their application to the State of Texas for nursing

 home licensure and certification, Defendants, SSC DALLAS OPERATING CO., LLC,

 Individually and d/b/a THE MEADOWS HEALTH AND REHABILITATION CENTER,



 PLAINTIFFS ORIGINAL PETITION - Pa 5
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 7 of 48 PageID 18




 SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE

 CONSULTING, LLC, and SAVASENIORCARE, LLC were able to enjoy substantial

 revenues paid for by taxpayer funded programs. Having availed themselves of the

 privileges and financial benefits available to licensed nursing home operations, certified

 for participation in such programs, Defendants, SSC DALLAS OPERATING CO., LLC,

 Individually and d/b/a THE MEADOWS HEALTH AND REHABILITATION CENTER,

 SAVASENIORCARE ADMINISTRATIVE SERVICFS, LLC, SAVA SENIOR CARE

 CONSULTING, LLC, and SAVASENIORCARE, LLC are and at all times material to this

 lawsuit and were required to comply with (a) the rules and regulations promulgated by

 the Federal Government, 42 C.F.R., §§483.1, et seg., and (b) Texas Department of Human

 Services 40 Texas Administrative Code, Chapter 19.1, et. seq. Defendants, SSC DALLAS

 OPERATING CO., LLC, Individually and d/b/a THE MEADOWS HEALTH AND

 REHABILITATION CENTER, SAVASENIORCARE ADMINISTRATIVE SERVICES,

 LLC, SAVA SENIOR CARE CONSULTING, LLC, and SAVASENIORCARE, LLC. were

 at all times material to this lawsuit required to comply with the foregoing rules and

 regulation in care for LENOIR WAREING.

       4.     At all tunes material hereto, LENOIR WAREING was a resident of SSC

 DALLAS OPERATING CO., LLC, Individually and d/b/a THE MEADOWS HEALTH

 AND REHABILITATION CENTER managed by SAVASENIORCARE

 ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and

 SAVASENIORCARE, LLC, owned and operated by SAVASENIORCARE, LLC. On or

 about April 7, 2014, LENOIR WAREING was a resident of THE MEADOWS HEALTH


 PLAINTIFFS ORIGINAL PkiI rION - Page 6
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                  Page 8 of 48 PageID 19




  AND REHABILITATION CENTER. Prior to admission to Defendant's facility, LENOIR

  WAREING was free from skin wounds, pressure sores, decubitus ulcers, or skin

  infections of any type. The High Risk for Impaired Skin Integrity Nursing Care Plan for

  Ms. LENOIR WAREING required that nurses and other healthcare givers employed by

  Defendants to turn and reposition her every two hours and as needed, monitor her meal

  intake, assist her to the toilet every two to three hours as needed, and to provide her with

  perinea' care after every incontinent episode. Nurses and other healthcare givers

  employed by Defendants were required to follow the care plan and provide proper health

  care to LENOIR WAREING.

        5.      On or about April 7, 2014, LENOIR WAREING was documented with

 Stage-I pressure ulcer to her sacrum area. On or about April 14, 2014, the pressure ulcer

 to her sacrum area was documented as a State-II. On April 25,2014, the pressure ulcer

 was documented as healed.

        6.     On May 6, 2014, LENOIR WAREING was transferred to Texas Health

 Presbyterian Hospital Dallas. She was admitted with a severe Stage-IV deep tissue injury

 to her sacral area and deep tissue injuries to her left lateral foot and heel, and severe

 malnutrition and dehydration.

        7.     During LENOIR WAREING'S stay at THE MEADOWS HEALTH AND

 REHABILITATION CENTER, she developed a pressure ulcer that progressed to the most

 severe Stage-IV degree due to the negligence of the Defendants' agents and employees.




 PLAINTIFFS ORIGINAL PETITION - Page 7
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 9 of 48 PageID 20




        8.    During LENOIR WAREING'S stay at Defendant THE MEADOWS

 HEALTH AND REHABILITATION CENTER, she developed severe malnutrition and

 dehydration due to the negligence of the Defendants' agents and employees.

        9.    LENOIR WAREING was hospitalized at Texas Health Presbyterian

 Hospital Dallas from May 6, 2014, through May 14, 2014, at which time she was

  transferred to Kindred Hospital where she continued to receive wound care treatment

 for her pressure ulcers including surgical debridements and a wound vacuum dressing.

        10.   On June 19, 2014 LENOIR WAREING was transferred to Golden Acres

 Living & Rehabilitation where she received further skilled wound care treatment for the

 Stage-IV pressure ulcers. During this time she received a gastric feeding tube and urinary

 catheter. On or about October 21, 2014, the Stage-IV sacral pressure ulcer healed.

        11.   Defendants SSC DALLAS OPERATING CO., LLC, Individually and d/b/a

 THE MEADOWS HEALTH AND REHABILITATION CENTER, SAVASENIORCARE

 ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and

 SAVASENIORCARE, LLC, acting individually and/or by and through their respective

 employees, agents, and representatives, failed to monitor, diagnose, and treat LENOIR

 WAREING'S medical condition.

        12.   LENOIR WAREING suffered damages as a result of the conduct of

 Defendants, as more specifically detailed below.

                                         VI.
                                  CAUSES OF ACTION

        1.    Defendants SSC DALLAS OPERATING CO., LLC, Individually and d/b/a



  PLAINTIFF'S ORIGINAL PETITION - Page 8
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 10 of 48 PageID 21




  THE MEADOWS HEALTH AND REHABILITATION CENTER, SAVASENIORCARE

  ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and

  SAVASENIORCARE, LLC, were negligent by and through their employees, agents

  and/or representatives in the following respects:

               a.     Failing to properly evaluate the condition of Plaintiff
                      LENOIR WAREING;

               b.     Failing to properly assess the condition of Plaintiff
                      LENOIR WAREING;

               c.     Failing to properly monitor the condition of Plaintiff
                      LENOIR WAREING;

               d.     Failing to provide proper treatment and/or care to Plaintiff
                      LENOIR WAREING;

               e.     Failing to properly prevent development of pressure ulcers,
                      malnutrition, dehydration, and infection;

               f.     Failing to properly treat the pressure ulcers, malnutrition,
                      dehydration, and infection.

        2.     Each and every one of the foregoing acts of omission and commission, taken

  separately and collectively, constituted the direct and proximate cause of the injuries,

  damages of LENOIR WAREING and suffered by Plaintiff as described more fully below.

        3.     Defendants SSC DALLAS OPERATING CO., LLC, Individually and d/b/ a

  THE MEADOWS HEALTH AND REHABILITATION CENTER, SAVASENIORCARE

  ADMINISMATIVE SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and

  SAVASENIORCARE, LLC, are further liable for punitive damages because they

  authorized or ratified their agents' and employees' gross negligence and/or it was

  grossly negligent in the hiring of unfit agents or employees. SSC DALLAS OPERATING


  PLAINTIFF'S ORIGINAL PETITION - Page 9
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                     Page 11 of 48 PageID 22




  CO., LLC, Individually and d/b/a THE MEADOWS HEALTH AND REHABILITATION

  CENTER, SAVASENIORCARE ADMINISTRATIVE SERVICFS, LLC, SAVA SENIOR

  CARE CONSULTING, LLC, and SAVASENIORCARE, LLC, further committed gross

  negligence or malice through the actions or inactions of vice principal(s) who had

  authority to employ, direct, and discharge servants of the master and/or those employees

  or agents engaged in the performance of non-delegable or absolute duties of SSC

  DALLAS OPERATING CO., LLC, Individually and d/b/a THE MEADOWS HEALTH

  AND REHABILITATION CENTER, SAVASENIORCARE ADMINISTRATIVE

  SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and SAVASENIORCARE,

  LLC. Specifically, Title 40, Texas Administrative Code, Rules §19.1902(a) and 19.1906(b),

  which states:

        The facility must have a governing body, or designated person, functioning as a
        governing body, that is legally responsible for establishing and implementing
        policies regarding the management and operation of the facility. 40 Tex. Admin.
        Code §19.1902(a)

        Agreements pertaining to services furnished by outside resources must specify in
        writing that the facility assumes responsibility for:

                  (1)   Obtaining services that need professional standards and principals;
                        and,
                  (2)   The timeliness of the services.

        40 Tex. Admin. Code §19.1906(b)

        4.        Thus, SSC DALLAS OPERATING CO., LLC, Individually and d/b/a THE

  MEADOWS HEALTH AND REHABILITATION CENTER, SAVASENIORCARE

  ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and

  SAVASENIORCARE, LLC, have a non-delegable duty and are legally responsible for the


  PLAINTIFF'S ORIGINAL PETITION - Page 10
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                     Page 12 of 48 PageID 23




  negligence, gross neglect, malice, and conduct done "knowingly', including acts or

  omissions, for services furnished in the nursing home, whether they are furnished

  directly or under contracts, such as with agencies that provide temporary nurses or

  nurses' aides.

         5.      Further, Defendants SSC DALLAS OPERATING CO., LLC, Individually

  and dj b/a THE MEADOWS HEALTH AND REHABILITATION CENTER,

  SAVASENIORCARE ADMINISTRATIVE SERVICFS, LLC, SAVA SENIOR CARE

  CONSULTING, LLC, and SAVASENIORCARE, LLC, are responsible for the acts and/or

  omissions of its agents, representatives, physician assistants, nurses, and employees who

  provided treatment to LENOIR WAREING under the theories of respondeat superior,

  apparent/ostensible agency, single business enterprise, and joint enterprise as those concepts are

  understood under Texas law.

         6.      Defendant SAVASENIORCARE, LLC, owns and operates both SSC

  DALLAS OPERATING CO., LLC, Individually and d/ b/ a THE MEADOWS HEALTH

  AND REHABILITATION CENTER and SAVASENIORCARE ADMINISTRATIVE

  SERVICES, LLC, and SAVA SENIOR CARE CONSULTING LLC. Accordingly, this

  entity is vicariously liable for the acts and omissions of THE MEADOWS HEALTH AND

  REHABILITATION CENTER and its employees under the theory of respondeat superior

  or actual, ostensible, or apparent agency. In addition, the nursing staff that cared for

  LENOIR WARELNG was employed by both SSC DALLAS OPERATING CO., LLC,

  Individually and d/b/a THE MEADOWS HEALTH AND REHABILITATION CENTER,

  SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, and SAVA SENIOR CARE


  PLAINTIFFS ORIGINAL PETITION - Page 11
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                 Page 13 of 48 PageID 24




  CONSULTING, LLC, and was acting as an employee, servant, apparent, or ostensible

  agent within the course and scope of its agency or employment with both SSC DALLAS

  OPERATING CO., LLC, Individually and d/b/a THE MEADOWS HEALTH AND

  REHABILITATION CENTER and SAVASENIORCARE ADMINISTRATIVE SERVICPS,

  LLC, and SAVA SENIOR CARE CONSULTING, LLC Therefore, SAVASENIORCARE,

  LLC, is negligent/responsible for the acts and omissions of the nursing staff who cared

  for LENOIR WAREING under the theory of respondeat superior or actual, ostensible, or

  apparent agency.

         7.     In addition, SAVASENIORCARE, LLC, owned and operated SSC DALLAS

  OPERATING CO., LLC, Individually and d/b/a THE MEADOWS HEALTH AND

  REHABILITATION CENTER, SAVASENIORCARE ADMINISTRATIVE SERVICES,

  LLC, and SAVA SENIOR CARE CONSULTING, LLC, and shared officers and/or

  directors with SSC DALLAS OPERATING CO., LLC, Individually and d/b/a THE

  MEADOWS HEALTH AND REHABILITATION CENTER, SAVASENIORCARE

  ADMINISTRATIVE SERVICES, LLC, and SAVA SENIOR CARE CONSULTING, LLC,

  Further, SSC DALLAS OPERATING CO., LLC, Individually and d/b/a THE

  MEADOWS HEALTH AND REHABILITATION CENTER, SAVASENIORCARE

  ADMINISTRATIVE SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and

  SAVASENIORCARE, LLC, were engaged in a joint enterprise with each other and had

  an authoritative voice and right of control over an aspect of the enterprise that the other

  did not, and without each other, could not provide comprehensive healthcare services to




  PLAINTIFF'S ORIGINAL PETITION • Page 12
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                  Page 14 of 48 PageID 25




  LENOIR WAREING in the furtherance of the joint enterprise and common purpose of

  providing patient care.

         8.     Moreover, SAVASENIORCARE, LLC, acting through its apparent,

  ostensible, actual, or by estoppels agents, officers, employees, subsidiaries, and/or

  affiliated companies, organized and operated SSC DALLAS OPERATING CO., LLC,

  Individually and d/b/a THE MEADOWS HEALTH AND REHABILITATION CENTER,

  SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, and SAVA SENIOR CARE

  CONSULTING, LLC, through the time of the rendition of healthcare services to LENOIR

  WAREING, that the ultimate parent corporation (SAVASENIORCARE, LLC) and the

  subsidiary corporations SSC DALLAS OPERATING CO., LLC, Individually and d/b/a

  THE MEADOWS HEALTH AND REHABILITATION CENTER, SAVASENIORCARE

  ADMINISTRATIVE SERVICES, LLC, and SAVA SENIOR CARE CONSULTING, LLC,

  should be treated as one and the same legal entity with regard to any liability to Plaintiff

  arising out of the claims made in this petition due to the control asserted by

  SAVASENIORCARE, LLC, over the other and the inter-relationship of their business

  dealings and financial arrangements, their corporate formalities should be disregarded,

  and each of them held vicariously liable for the conduct of the other.

         9.     Each such act and omission, singularly or in combination with others, was

  a proximate cause of the injuries to LENOIR WAREING.

        10.     Each and every one of the foregoing acts of omission and commission, taken

  separately and collectively, constituted the direct and proximate cause of the injuries,

  damages, and death suffered by Plaintiffs as described more fully below. Some or all of


  PLAINTIFFS ORIGINAL PETITION -Page 13
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 15 of 48 PageID 26




  the foregoing acts of Defendants amounted to gross negligence as that concept is

  understood under Texas law or "malice/gross neglect' as that term is defined in the Civ.

  Prac, & Rem. Code §41001(7)(b) for which Plaintiffs seek exemplary damages [double

  check this citation].

                                               VII.

                            DAMAGES TO LENOIR WAREING

         1.     As a result of Plaintiff LENOIR WAREING'S injuries, she has endured

  physical pain and suffering in the past and will in all likelihood endure physical pain

  and suffering in the future.

         2.     Plaintiff LENOIR WAREING has suffered mental anguish in the past and

  in all likelihood will suffer mental anguish in the future.

         3.     Plaintiff LENOIR WAREING has suffered physical impairment, physical

  incapacity, physical disability, and physical disfigurement in the past and in all

  likelihood will suffer physical impairment, physical incapacity, physical disability, and

  physical disfigurement in the future.

         4.     Plaintiff LENOIR WAREING has incurred medical expenses in the past

  and in all reasonable probability will incur medical expenses in the future.

                                              Ix.

                                 REQUEST FOR DISCLOSURE

        1.      Under Texas Rule of Civil Procedure 194, Plaintiff request that Defendants

  SSC DALLAS OPERATING CO,, LLC, Individually and d/b/a THE MEADOWS

  HEALTH AND REHABILITATION CENTER, SAVASENIORCARE ADMINISTRATIVE


  PLAINTIFF'S ORIGINAL PETTTION - Page 14
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                 Page 16 of 48 PageID 27




  SERVICES, LLC, SAVA SENIOR CARE CONSULTING, LLC, and SAVASENIORCARE,

  LLC, disclose, within fifty (50) days of the servic of this request, the information or

  material described in Rule 194.2 (a) through (k).

                                        X.
                               PLAINTIFF'S FILING OF
                     EXPERT REPORTS PURSUANT TO C.P.Ft.C. R74.051

        1.      Pursuant to C.P.R.C. §74.051, Plaintiff attaches, files, and serves the

  following expert reports with regard to all Defendants:

                a.     Exhibit 1 - Expert Report of Keith Miller, M.D., with
                       attached Curriculum Vitae (Ex. 1A); and

         2.     Pursuant to this filing, these expert reports are not to be admissible in

  evidence by the Defendants; shall not be used in a deposition, trial, or other proceeding;

  and shall not be referred to by Defendaitts during the course of the action for any purpose.

                                         XL
                                PRE-IUDGMENT INTEREST

        1.      Plaintiff seeks pre-judgment interest from the earliest date and at the

  highest legal rate allowed by law.

                                            XIL
                                       IURY DEMAND

        1.      Plaintiff respectfully requests a trial by jury and submits the appropriate

  jury fee to the Court this day.


                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendants SSC

  DALLAS OPERATING CO., LLC, individually and d/b/a THE MEADOWS HEALTH


  PLAINTIFF'S ORIGINAL PETITION - Page 15
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 17 of 48 PageID 28




  AND REHABILITATION CENTER, SAVASENIORCARE ADMINISTRATIVE

  SERVICRS, LLC, SAVA SENIOR CARE CONSULTING, LLC, and SAVASENIORC.ARE,

  LLC, be cited to appear and answer herein, and that on final trial Plaintiff have judgment

  against the Defendants for damages in an amount in excess of the minimum jurisdictional

  limits of this Court, pre-judgment and post-judgment interest as provided by law,

  punitive damages, costs of suit, and such other and further relief to which Plaintiff is

  justly entitled.



                                                  Respectfully submitted,

                                                  THE LAW OFFICES OF REYNOLDS &
                                                  REYNOLDS, P.L.L.C.




                                                  By

                                                     RUSSELL R. REYNOLDS
                                                     State Bar No. 24009359
                                                     rusty@rrIfirm.com
                                                     DEBRA S. REYNOLDS
                                                     State Bar No. 24043891
                                                     debratikrIfirm.com
                                                     2591 Dallas Parkway, #300
                                                     Frisco, Texas 75034
                                                     (214) 891-6606
                                                     (972) 7314384-8739 (fax)

                                                  ATTORNEYS FOR PLAINTIFF


  PLAINTIFFS REQUEST A IURY TRIAL




  PLAINTIFF'S ORIGINAL PETITION - Pap 16
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                 Page 18 of 48 PageID 29



                                                 At .1.,   1.4.4.4.P.
                                                              754,11
                               f?.54) "4.-27!   • cls (.9•Sr' 5034Z, -



                                                December 7, 2015




       Mr. Russell R. Reynolds, Attorney at Law
       The Law Offices of Reynolds & Reynolds. P.L.L.C.
       2591 Dallas Parkway, Suite 300
       Frisco, Texas 75034

                                                Re: Ms. Lenoir Wareing

       Dear Mr. Reynolds:

             Thank you far allowing me to review this case on behalf of Ms. Lenoir
       Wareing. My opinions in this report are based on the Information I have reviewed
       to date and my education, training, and direct experience in the diagnosis and
       treatment of patients with conditions similar to those of Ms. Lenoir Wareing as -
       described in the materials I have reviewed and discussed In this report. Each
       opinion is based on reasonable medical and nursing, probability and certainty.

                                        BACKGROJNO

              My name is Keith E. Miller,        and I give this report for the purpose of
       emptying with any applicable provisions or codes. As my attached curdadum vitae
       demonstrates and which is incorporated into this report by reference, I am a
       Medical Doctor currently licensed to practice in the State of Texas. I currently
       practice in nursing homes similar to The Meadows Health and RehabStation Center
       in Dallas, Texas. I have had numerous patients similar to Ms. Lenoir Wareing. I
       am board-certified in family medicine and I have been in practice for more than 25
       years. By virtue of my education, training, and direct experience, I am qualified to
       render opinions regarding the standards of care as they apply to this particular
       case.

            I em over the age of 18, of sound mind, and capable of preparing this expert
      medical report. My opinions in this report are based on the information I have
      reviewed to date, as well as my education, training knowledge, and direct
      aperient* in the diagnosis and treatment of patients with conditions similar to
      those of Ms. Lenoir Wareing, as described in the materials I have reviewed and
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                   Page 19 of 48 PageID 30




       discussed in this report. My opinions are based on reasonable medical and
       nursing, probability and certainty. My opinions concern the care and treatment
       received by Ms. Lenoir Wareing, or lack thereof, in regard to the applicable
       standards of care and the manner, in which the care rendered to Ms. Lenoir
       Wareing by the heehaws fad% in this case, fell below the standards of care and
       caused the injuries and illnesses of Ms.. Lenoir Wareing.
              It is impossible in an expert medical report to marshal all of the proof
       regarding the standard of care, breach, and causation and include it within my
       expert opinions in this case. My report represents a good faith effort to Inform the
       health-care facility of the specific conduct that I am calling into question and to
       provide a basis for anyone to conclude that the claims in this matter have merit.
       Obviously, any defendant in a medical malpractice case has medical Imoviedge of
       medical terms which, when read in context viith my opinions, will be dear to any
       competent healthcare facility.
              This report will provide a summary of my opinions, as of this date. mgarding:
       1) the applicable standards of care at issue in this case; 2) how the applicable
       standards of care were violated and breached; 3) how the violations and breaches
       of the applicable standards of care resulted in the injuries and illnesses of Ms.
       Lenoir Wareing; and 4) what the health-care facility in this case should have done
       differently to prevent the injuries and illnesses of Ms. Wareing. I reserve the right to
       amend, or add to, my opinions upon further review of records, testimony, or facts,
       as they become available.
                                          My EXPERTISE
               I am a medical doctor currently licensed to practice in the State of Texas. I
       have been a licensed medical doctor since 1985, have been practicing medicine
       continuously since then, Including during the time of this claim, and as part of my
       pradice, have been, and am currently, Involved In the diagnosis, care, and
       treatment of many patients similar to M3. Lenoir Wareing. I am familiar with the
       diagnosis and treatment of patients with malnutrition, dehydration,. decubitus ulcers
       or pressure sores, Infections and sepsis, illnesses, and their complications, along
       with any other conditions experienced by Ms. Lenoir Warning. lam familiar with the
       standards of care applicable to physicians nurses, hospitals, nursing homes,
       rehabilitation centers and their staffs that treat patients such as Ms. Wareing. My
       training is similar to the training of the healthcare providers, nurses, and fadlitYltaff
       in this case.
              After graduating from medical school in 1985 at the University of Manses,
       received additional training and experience In a family practice residency program
       which t successfully completed in 1988. 1 have had over 25 years' experience
       practicing medicine in office settings, hospitals, nursing homes, rehabilitation
                                                  2
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 20 of 48 PageID 31




       centers and emergency departments. I am board-certified in Family Medicine by
       the American Board of Family Medicine, and have beenin practice for more than 25
       years. By virtue of my education, training, knowledge and direct experience, I ant
       qualified to render opinions regarding the standards of care as they apply to this
       particular case, Including the standards of care applicable to phySiCians, nurses,
      •hospitals, nursing homes, rehabilitation centers andlheir staffs treating patients for
       malnutrition, dehydration, decxibitus vices or pressure sores, infections and seeds,
       illnesses, and theircomplications, along with any other conditions exhibited by Ms.
       Lenoir Wareing, because I have treated many patients with these conditions.

                              6 cOfY1 FW(SVIATTACttED
              My attached curriculum vitae is incorporated herein as part of my report

                                    PIATERKAftEVIEWED
             The specific medical records of Ms. Lenoir Wareing which I have reviewed
       Include her medical records from the folk:ming;
             1) The Meadows Health and Rehabilitation Center in Dallas. Texas:
             2) Texas Heafth Presbyterian Hospital of Dallas in Dallas, Texas;
             3) Kindred Hospital Dallas Central in Dallas, Texas; and
             4) Golden Acres Living & Rehabilitation in Dallas, Texas.

                                     SIGNIFFAIIT FACTS
              Ms. Lenoir Wareing is an adult female whose data of birth IciM629( MAW
       In the fall of 2013, Ms. Wareing was 66 years-old and living at home when she.
       suffered a cerebrovascular accident or stroke. After treatment in the hospital, Ma.
       Wareing was transferred to a nursing home for further treatment and rehabilitation.

             On October 29, 2013, Ms. Wareing was admitted to The Meadows Health
       and Rehabilitation Center in Dallas, Tens (The Meadows), where she remained a
       resident until May 6, 2014.

              The admitting records made by the nursing staff of this facility documented
       that at the time of admission to ttds nursing home, Ms. Wareing was Eden and
       oriented to person, place, and time. She was able to express her needs and feed
       herself. Her hearing and vision were adequate. She was able to move all
       extremities and feed herself. She was free of contractures, free of Infections, well-
       nourished, well-hydrated, without injuries. and without pain. Her skin examination
       was negative for pressure sores or infections.

              Ms. Lenoir Wareing suffered from mainutnlionwitile a resident in the =sof
                                                3
    Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                 Page 21 of 48 PageID 32




           The Meadows due to a failure of this facility to meet her nutritional needs. After her
           admission to The Meadows Ms. Wareing was documented as being well-nourished
           as evidenced by normal laboratory testing consisting of a serum aibutritn level of
           4.0 grams per deciliter (01) (normal 3.5,— 5.7 glcii) and a serum pre-albumin level
           of 26.9 milligrams per deciliter (mg/d1) (normal 17.0-40.0 mg/d1). By OW end of her
           stay at this nursing home, Ms. Wareing's nutritional status had deteriorated as
           evidenced by abnormally low serum protein levels. At the time Ms. Wareing left
           The Meadows. she was documented as having a serum albumin level of 2.7 g/d1
           and a serurn pre-albumin level of 11.3

                  Ms. Lenoir Wareing suffered from dehydration while a resktent in the care of
           The Meadows Health and Rehabliitation Center. This facility failed to provide
           adequate fluids and hydration to Ms. Wareing while she was a resident of this
           facility. At the time of her admission to this nursing home, Ms. Wareing was
           documented as being well-hydrated as evidenced by normal renal function
           laboratory testing, specifically a normal serum BUN and creatinine level, Ms.
           Wareing was documented to have a serum BUN of 10 mg/di (normal 7-20 mg/di)
           and a serum creatinine level of 0,6 mg/di (normal 0.6 — 1.2 thgidt).

                 During her stay at this nursing home, Ms. Wareing's hydration status
           deteriorated. At a hospitalization invnediatety following her discharge from The
           Meadows, Ms. Wareing had an elevated serum BUN level of 22 mg/di and an
           elevated serum creatinine level of 127 mg/dl. Ms. Warning's physician
           documented in the medical record that this patient's abnormally elevated serum
           creatinine level was °more than double her baseline creatinine:

                 Due to the failure of The Meadows Health and Rehabilitation Center to
           properly care for Ms. Lenoir Wareing, she developed decubitus ulcers orpressure
           sores over multiple parts of her body. When this resident first enteredthis nursing
           home, she VMS noted to be free of pressure sores or skin infections of any kind.
           Due to the failure of this nursing home to employ appropriate measures to prevent
           pressure sores and decubitus ulcers. Ms. Lenoir Wareing developed multiple
           decubitus ulcers or pressure sores over different parts of herbociy, up to stage Win
           size, which is the most severe stage. This resident's pressure sores were so
           severe that following her final discharge from The Meadows. Ms. Wareing required
           a special kind-care consultation in the hospital for treatment of her pressure
           sores. She was found to have a large stage IV deep tissue injury or pressure sore
           over her coccyx, along with a another deep tissue Injury or pressure sore on her lett
           foot

                 While Ms. Wareing was a resident in the care of The Meadows. the pressure
           sore over her sacrum was only desaibed as Stage II in size at its Worst on April 14,
           2014. The pressure sore on Ms. Wareing's foot was never mentioned in the
           records of The Meadows. On April 25, 2014, the nursing staff of The Meadows
                                                     4




•
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 22 of 48 PageID 33




       stated in the medical record that the pressure sore on Ms. Wareing's sacrum was
       °healed. it was not mentioned again as recurring in the medical record for the
       remainder of Ms. Warning's stay in The Meadows which ended withber discharge
       on May 6, 2014.

              The Meadows Health and Rehabilitation Center failed to prevent and property
       treat the Infections of Ms. Lenoir Wareing's urinary tract on multiple occasions,
       These localized infections caused, more likely than not, Ms. Wareing to develop
       sepsis, or a generalized infection of her bloodstream at least twice. Ms. Warning's
       urinary tract infections and sepsis developed and became severe while a resident In
       the care of The Meadows. These infections required her to be hospitalized at least
       twice, once beginning February 1, 2014 and again immediately folkming her final
       discharge from the Meadows on May 6, 2014.

             Ms. Wareing's overall condition continued to worsen due to the negligence
       she suffered while a resident of The Meadows Health and Rehabilitation Center.
       She left this nursing home for the final time on May 6, 2014. Following her final
       discharge from this nursing home, Ma. Wareing was first admitted to the hospital
       and then a specialty wound care hospital due to the severity other pressure sores.
       She required extensive treatment in these facilities 83 wallas another nursing home
       to which she was ultimately admitted. Ms. Wareing had to have extensive care and
       treatment as a result of the illnesses and injuries she developed due to the
       negligence of The Meadows while she was a resident in their care. She ultimately
       required prolonged hospitalizations, extensive therapy, surgical procedures, a
       urinary bladder catheter (Foley catheter), and a percutaneous endoscopically-
       placed gastrostomy feeding tube (PEG tube).

              More likely than not and to a reasonable degree of medical and nursing,
       probability and certainty. Ms. Wareing will continue to suffer a loss of physical
       function, as well as other illnesses and complications as a result of the negligence
       from 'Arch she suffered while a resident in the care of The Meadows Health and
       Rehabilitation Center_

                          FANELVAITY WITH THE STANDAPD 9F ;ARE

             At     time of the care and treatment of Ms. Lenoir Wareing by The Meadows
       Health and Rehabilitation Center in Dallas, Texas. from October 2013 through May
       2014,l was familiar with the minimum medical standards of care applicable to the
       assessment, diagnosis and treatment of patients with malnutrition, dehydration,
       decubitus ulcers or pressure sores, infections and sepsis. injurtes and Illnesses, as
       well as their complications and other medical conditions similar to those
       experienced by Ms. Lenoir Wareing and described in the referenced medical
       records. I am familiar with the medical and nursing standards of care for the above
       referenced conditions applicable to The Meadows Health and Rehabilitation Center
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                  Page 23 of 48 PageID 34




       in Dallas. Texas, The minimum standard or care for treatment of patients WM
       similar signs, symptoms, and exinditions as Ms. Lenoir Wareing that arethebasis of
       this report, is a universally-aceepted standard of care and does not differ from
       community to community.

                  From the time of the medical treatment of Ms. Lenoir Wareing from
       October 2013 through May 2014, and through the present, I have had an active
       clinical practice as a family practitioner in Center. Texas that Includes Providing
       care to adult patients in nursing homes and rehabilitation centers„ such as Ms.
       Lenoir Wareing. During my cameras fa fortify ixactitionec I have worked. Wei and
       or supervised medical office staff, hospital staff. nursing home stall', and
       rehabilitation center staff. Including medkel technologists and MIMS. in the care of
       my patients. I have also participated in the development and use of protocols.
       Polloie$ and procedures for the care of patients with malnutrition, dehydration,
       decubitus ulcers or pressure sores. Infections and sepsis, injuries, and illnesses as
       well as their causes and compacatiOns. Including adults such as Ms.. Lenoir
       Wareing. In addition, based on my education, training, knowledge, and direct
       experience, I am familiar with the accepted and expected, standards of care, art
       fisted below, for nursing home and rehabilitation center facilities, itsix) take care of
       patients with conditions such as malnutrition, dehydration. deoubltus ulcers or
       pressure sores, infections and sepsis, injuries, illnesses, and their complications,
       and can offer opinions on the standards of care, the breathes of the standards of
       care and the causation of the injuries from these breathes.
             in my medical practice, I routinely rely on medical records, nursing records,
       lab reports, diagnostic tests and images, consulting physician reports and other
       patient data. I consider materials of this type to be generally reliable, unless
       evidenced othetwise, and they are the type of materials routinely relied upon by
       physicians and clinical staff in providing care to patients.

                                  VASE spganc EXPERT1Sk
             At the time of the medical treatment of Ms. Lenoir Wareing, from October
      2013 through May 2014, I was treating patients with symptoms similar to those
      experienced by Ms. Wareing. I am familiar with the accepted medical and nursing
      standards of care applicable to the assessment, diagnosis, end treatment of
      patients with mainutntion, dehydration, decubitus ulcers or pressure sores,
      infections and sepsis, injuries, and illnesses, as well as any other medical
      conditions similar to those experienced by Ms. Lenoir Wareing during thattime and
      described in the referenced medical records. I am familiar with the standards of'
      care for physicians. nurses. and nursing home and rehabilitation center staff
      treating patients such as Ms. Wareing. I am fanillar with the medical and rtureinp
      standards of cam for the above referenced medical conditions, including
      malnutrition, dehydration, decubitus ulcers or pressure sores, Infections and sepsis,
                                                 6
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                 Page 24 of 48 PageID 35




      •Injuries, illnesses, and their complications, as they apply to The Meadows Health
       and Rehabilitation Center. The accepted and applicable standards of care for
       treatment of patients with similar signs. symptoms, and conditions as Ms. Lenoir
       Wareing, that are the basis of this report, are national standards of care and do not
       differ from =rurality to community, and also apply to the specific medical care
       provided to Ms. Wareing In this case. The accepted medical and nursing standards
       of care for the assessment, diagnosis and ttetsbilei4 of medical conditions similar
       to those of Ms. Lenoir Wareing apply to ti nursing home and rehabilitation center
       facilities. I know the accepted standards of care, the breaches and violations of the
       standards of care, and the causatkm lir* between the breaches and violations of
       the standards of care and the injuries, illnesses, and infections of Ms. Lent*
       Wareing, as they apply to The Meadows Health and Rehabilitation Center, on the
       basis of my education, knowledge, training, and direct experience.

              I acquired this education, knowledge, training and experience through:

             1)My attending, and successfully completing, medical school classes, and
      residenw that teach the evaluation, 4:Necrosis, care and treatment of patients with
      She same or similar conditions as Ms. Lenoir Wareing, and for malnutrition,
      dehydration. decubitus ulcers or pressure sores. infections and sepsis, and their
      complications:

             2) Practical experience of diagnosing and treating patients with thesame or
      similar conditions as Ms. Lenoir Wareing, and for malnutrition, dehydration,
      decubitus ulcers or pressure sores, infections and sepsis, and their cormlications;

             3) Masai= with colleagues at yearly conferences, seminars and
      meetings;

               4) Sealy of technical works routinely published in textbooks, )3umals and
      literature concerning the evaluation, diagnosis, care and treatment of patients with
      the same or similar conditions as Ms. Lenoir Wareing, and for malnutrition,
      dehydration, decubitus ulcers or pressure sores, infections and sepsis, and their
      cormilcations;

              5)My routine discussions and consultations with other physicians who also
      treat patients with the same or sinter conditions as Ms. Lenoir Wareing,. and for
      malnutrition, dehydration, decubitus ulcers or pressure sores, infections and sepsis,
      and their complications;

              8) My routine and regular contact with nursing home nurses, staff and
      residents who take care of catieres with the sane or similar conditions as Ms.
      Lenoir Wareing, and for malnutrition, dehydration, decubitus ulcers or pressure
      sores, infections and sepsis, and their complications,
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 25 of 48 PageID 36




               7) My knowledge and experience giving lectures and in-serviceconferences
       to the nurses and staff;

             8) My experience serving on numerous hospital and nursing home
       committees; and

               9) Myobservation of nurses and nurse conduct, supervising residents, and
       instructing nurses and residents in the evaluation, diagnosis, care and treabnentof
       patients the same as, or similar to Ms. Lenoir Wareing, and for malnutrition,'
       dehydration, decubitus ulcers or pressure sores, infections and sepsis, and their
       complications.

                             FACILITY PpIlliT RELATIONSHIP

                 Based upon the above facts, there was a fadtity-patient relationship
       established between Ms. Lenoir Wareing and The Meadows Health and
       Rehabilitation Center in Dallas, Texas.

                                              Du*.
                 There was a duty owed to Ms. Lenoir Wareing OY The Meadows Health
       and Rehabilitation Center In Dallas. Texas, to do what a reasonable nursing home
       or rehabilitation center would have done under the same or Siitlikif drcumstances,
       or not to do *rat a reasonable nursing home or rehabilitation center would not have
       done under the same or simnar circumstances.

                        REWANT SIVIOARRS OF CARE 91 ISSUE

               This section addresses some of the principal applicable standards of care
       that The Meadows Health and Rehabilitation Center in Dallas, Texas and its staff
       should have met for Ms. Lenoir Wareing, specifically how The Meadows Health and
       Rehabilitation Center and its staff breached the standards of care and the causal
       relationship of the breech to Ms. Wareing's injuries, infections and illnesses. These
       standards are based on my education, training, and direct experience, and are
       reflected in the state and federal regulations that govern nursing homes and
       rehabilitation centers.

              Thefolloviing standardis among others, are consistent with the standards of
       care that were required to be followed by The Meadows Health and Rehabilitatkm
       Center and its staff as it concerns Ms. Lenoir Wareing:

       1. TAC Sub chapter J Rule MAIM (3) Pressure sores. Based on the "
       coznorehenstve assessment of the resident, the facility must ensure that (A) a
                                                8
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 26 of 48 PageID 37




       resident who enters the facMty without pressure sores does not develop
       pressure sores urdess his &deal condition demonstrates that they are
       unavoidable; and (B) a resident having pressure sores receives necessary
       treatment and services to promote healing, prevent infection, and prevent
       new sores from developing;

       2. TAC Subchapter J Rut* §19.901 (10) Hydration. The facility most ensure
       that the resident is provided with sufficient fluid Intake to maintain proper
       hydration and health;

       3. TAC Subchapter J Ruie §19.901 (*Nutrition. Based on the comprehensive
       assessment Of the resident, the facility must ensure that a resident (A) maintains
       acceptable parameters of nutritional status, such as body weight andproteln
       unless his arnica' condition demonstrates that this Is not possible; and (B) receives
       a therapeutic diet when there Is a nutritional problem;

       4. TAC Subchapter H Rule 419.701. A facility must care for its residents in a
       ',tanner and in an environment that promotes maintenance crenhancernent of each
       resident's qualityof life. (5) Accommodation of needs. A resident has the right to:
       (A) reside and receive services In the facility with reasonable acx:ornmodatjon of
       individual needs and preferences, except when the health or safety of the individual .
       or other residents would be endangered;

       5. TAC Subchapter 8 Rule §19.101 (91) Neglect 7 A deprivation of fifes
       necessities of food, water, or shelter, or a failure of an Individual to provtde
       services, treatment, or care to a resident which causes or could cause mental
       or physical injury, orharm or death to the resident;

       6. TAC Chapter 217 Rule §217.111 Standards of Nursing Practice (1)
       Standards Applicable to AU Nurses. All vocational nurses, registered nurses and
       registered nurses with advanced practice authorization shEdk (A) Knowand conform
       to the Texas Nursing Practice Act and the Board's rules and regulations as well as
       all federal, state, or local laws, rules or regulations affecting the nurse's current
       area of nursing practice;

       7. TAC Chapter 217 Rule §217.11 Standards of Nursing Practice (1)
       Standards Applicable to All Nurses. AU vocational nurses, registered nurses and
       registered nurses with advanced practice authorization      (C) Knowthe rationale
       for and the effectsof medications and treatments and shad correctly administer the
       same;

       8. TAG Chapter 217 Rute §217.11 Standards of Nursing Pradiall (1)
       Standards Applicable to All Nurses. All vocational nurses, registered nurses
       end registered nurses with advanced practice authorization shall: (F) Promote and
                                                9
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 27 of 48 PageID 38




       participate in education and counseling to a client(s) and, where applicable, the
       family/significant other(s) based on health needs;

       9. TAC. Chapter 217 Rule $217.11 Standards of Nursing Practice (1)
       Standards Applicable to All Nurses, All vocational nurses, registered nurses
       and registered nurses with advanced practice authorization shall: (6) Obtain
       Instruction end supervision as necessary when implementing nursing procedures Or
       practices;

       10. TAC Chapter 217 Rule §217.11 Standards of Nursing Pnictice (1)
       Standards Applicable to All Nurses. An vocational nurses, registered nurses
       and registered nurses with advanced practice authorization shall; (M) institute
       appropriate nursing interventions that might be required to stabilize a client's
       corxion andtor prevent complications;

       11. TAC Chapter 217 Rule s217.11 Standards of Nursing Practice (1)
       Standards Applicable to All Nurses. All vocational nurses, registered nurses
       and registered nurses with advanced practice authorization shall: (T) Accept only
       those nursing assignments that take into consideration client safety and that are
       commensurate with the nurses educational preparation, experience, knowledge,
       and physical and emotional ability;

       12. TAC Chapter 217 Rule 3217.11 Standards of Nursing Practice (1)
       Standards Applicable to All Nurses. All vocational nurses, registered nurses
       and registered nurses with advanced practice authorization shall: (U) Supervise
       nursing care provided by others for wtiorn the nurse is professionally responsible;

       13 TAC Chapter 217 Rule 5217.11 Standards of Nursing Practice (3)
       Standards Specific to Registered Nurses. The registered nurse shall assist in the
       determination of healthcare needs of clients and shall: (A) Utilize a systematic
       approach to provide individualized, goal-directed. nursing cam by: (I) performing
       comprehensive nursing assessments regarding the health status of the Client (11)
       making nursing diagnoses that serve as the basis for the strategy of care; (iii)
       developing a plan of care based on the assessment and nursing diagnosis; (iv)
       implementing nursing care; and (v) evaluating the client's responses to nursing
       intervenlions;

       14.TAC Chapter 217 Rule §217.12 Unprofessional Conduct (1 ) Un.safe Practice
       — actions or conduct including, but not limited to: (A) Carelessly failing, repeatedly
       failing. or exhibiting an inability to perform vocational, registered, or advanced
       practice nursing in conformity with the standards of minimum acceptable level of
       nursing practice set out in Rule 217.11;

       15.TAC Chapter 217 Rule gr17.12 Unprofessional Conduct (1 }Unsafe Practice
                                                 10
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 28 of 48 PageID 39




       - actions conduct including, but not limited : (B) Carelessly or repeatedlyfailing
       to conform to generally accepted nursing standards in applicable practice settings;

       16. TAC Chapter 217 Rule §217.12 Unprofessional Conduct (4) Careless or
       repetitive conduct that may endanger a dienrs life, health, or safety. Actual injury
       to a dient need not be established;
                                                                         •
       17.42 CFR 483.20, 483.25-The facility must conduct initially a c:omprehensive,
       accurate assessment of each resident's functional capacity, a plan of care, based
       on a resident assessment, which will be used*3 provide care and services to attain
       the highest practical physical. mental, and psychosockd %WI-being;

       18.42 CFR 483.15- A facility must care for its residents in a manner that prOmotes.
       quality of rife and dignify;
       19. 42 CFR 483.30- The facility must have sufficient nursing staff to provide
       nursing and related senrk:es to attain or maintain the highestpracticable physical,
       mental, and psychosodal well-being of each resident, as determined by resident
       assessments and individual plans of care;
       20.42 CFR 483.13, F 224- "Neglect" means failure to provide goods and services
       necessary to avoid physical harm, mental anguish, or mental illness;
       21. 42 CFR 483.10- The resident has a right to a dignified existence, self-
       determination, and communication;
       22.42 CFR 48320 (k) (3) (1)- The services provided or arranged by the facility
       must meet professional standards of quality;
       23.42 CFR 483.25(a) (3) - A resident who is unable to oury out activities of daily
       living must receive the necessary services to maintain good nutrition...;

       24.42 CFR 48325(l) (1) - Based on a resident's comprehensive assessment. the
       facility must ensure the resident maintains acceptable parameters of
       nutritional status;
       25, 42 CFR 483.25Q). The facility mist provide a sufficient fluid intake to maintain
       proper hydration and heafth;

       26, 42 CFR 48325(1), (2)- Ensure a realdententering the fad lity without pressure
       sores does not develop them unless the resident's clinical condition demonstrates
       that they were unavoidable and a resident having pressure sores receives
       necessary treatment and son/last° promote healing, prevent infection and prevent
       new sores from developing; and
                                              Ii
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 29 of 48 PageID 40




    •   27. 42 CFR 483.65- The facility must establish and maintain an Infection control
        program designed to provide a safe, sanitary, and comfortabha environment and to
        help prevent the development and transmission of disease.


            HOW THE STANDARDS Of CAR WERE BREACHEp AND CAUSED
                         ',WRY. HAM OR DAMAGES
                                           klialmstrftion
               Ms. Lenoir Wareing 13 an ackrit female whose date of birth isiXic/99921S1
        In the fall of 2013, Ms. Wareing was 66 years-old and Dying at home when she-
        suffered a cerebrovascular accident or stroke. After treatment in the hospital, Ms.
        Wareing was transferred to a nursing home for further treatment and rehabilitation.

              On October 29, 2013, Ms. Wareing was admitted to The Meadows Health
        and Rehabilitation Center in Dallas, Texas (The Meadows). where she remained a
        resident until May 6, 2014.

               The admftfing records made by the nursing staff of this facility documented
        that at the time of admission to this nursing home, Ms. Wareing was alert and
        oriented to person, place, and time. She was able to express her needs and feed
        herself. Her hearing and vision voice adequate. She was able to move all
        extremities and feed herself. She was free of contractures, free of infections, well-
        nourished, well-hydrated, without injuries. and without pain. Her skin examination
        was negative for pressure sores or infections.

               Ms. Lenoir Wareing suffered from malnutrition while a resident lathe care of
        The Meadows due to a failure of ttds facility to meet her nutritional needs. Afterher
        admission to The Meadows Ms. Wareing was documented as being well-nourished
        as evidenced by normal laboratory testing consisting of a serum albumin level of
        4.0 grams per deciliter (g/d1) (normal 3.5— 5.7 01) and a SWUM pre-albumin level
        of 26.9 milligrams per deciliter (mgfdl) (normal 17.0-40.0 mg/d1). Elythe end other
        stay at this nursing home, Ms. Warning's nutritional status had deteriorated as
        evidenced by abnormally low serum protein levels. At the time Ms. Wareing left
        The Meadows, she was documented as having a serum albumin level of 2.7 VW
        and a serum pre-albumin level of 11.3 mg/d1.

            • Ms. Warning's overall condition continued to worsen due to the negligence
        she suffered while a resident of The Meadows Health and Rehabilitation Center.
        She left this nursing home for the final time on May 6, 2014. Following her final
        discharge from this nursing home, Ms. Wareing was first admitted to the hospital
        and then a specialty wound care hospital due to the severity of her pressure sores.
                                                 12
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 30 of 48 PageID 41




       She required extensive treatment in these facilities as well as another nurskrig home
       to which she was ultimately admitted. Ms. Wareing had to have extensive care arid
       treatment as a result of the illnesses and injuries she developed due to the
       negligence of The Meadows while she was a resident in their care. She ultimately
       required prolonged hospitalizations, extensive therapy, surgical procedures, a
       urinary bladder catheter (Foley catheter), and a percutaneous endoscopically-
       placed gastrostomy feeding tube (PEP tube).

              More likely than not and to a reasonable degree of medical and nursing,
       probability and certainty, Ms. Wareing will continue to suffer a loss of physical
       function, as well as other illnesses and complications as a result of the negligence
       from which she suffered while a resident in the care of The Meadows Health arid
       Rehabilitation Center.

              As a direct cause, The Meadows Health and Rehabilitation Center in Dallas,
       Texas, and its staff failed to comply with those standards set forth in paragraphs: 3,
       4, 5, 6, 7, 8, 9, 10,11, 12, 13, 14, 15, 1e, 17, 18, 19, 20, 21, 22, 23, and 24. The
       failure to comply with these standards caused, within a reasonable degree of
       medical and nursing, probability and certainty, Ms. Wareing to become
       malnourished which compounded her ability to fight Infections, and compromised
       her ability to heal her pressure ulcers and further deteriorated her physical function.
       These problems could have, within a reasonable degree of medical and nursing,
       probability and certainty, been prevented or detected/addressed earlier If these
       standards had been followed.

              To meet these standards, The Meadows Health and Rehabilitation Center
       and its staff were required to do the following:

            A. Recognize and act on an accurate assessment that Ms. Wareing was at
               risk for malnutrition as evidenced by her oral intake records, and her
               deteriorating serum protein blood tests.

            B, Act on the fact that Ms. Wareing was totally dependent on staff for both
                anticipation of needs and physical assistance of all nourishment
               including foods and fluids.

            C. Monitor her oral intake and output each shift, which must be done
               consistently and accurately for nurses, physicians, and dieticians to
               evaluate her food and fluid needs and response to medications.

            D Timely notify the physician of changes in signs or symptoms of
              malnutrition to prevent further complications.

            E. Give Ms. Wareing food to eat and water to drink and help her eat and
                                                 13
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 31 of 48 PageID 42




               drink,

                                          Dehydration

             The admitting records made by the nursing staff of this facility documented
       that at the time of admission to this nursing home, Ms. Wareing wet alert and
       oriented to person, place, and time. She was able to express her needs and feed
       herself. Her hearing and vision were adequate. She was able to move all
       extremities and feed herseff. She vats free of contractures, free of infections, welt.
       nourished, well-hydrated, without injuries, and without pain. Her skin examination
       was negative for pressure sores or infections.

              Ms. Lenoir Wareing suffered from dehydration while a resident in the care of
       The Meadows Health and Rehabilitation Center. This facility failed to provide
       adequate fluids and hydration to Ms. Wareing while she was a resident of this
       facility. At the time of her admission to this nursing home,. Ms. Wareing was
       documented as being well-hydrated as evidenced by normal renal function
       laboratory testing, specifically a normal serum BUN and creatinine level. Ms.
       Wareing was documented to have a serum BUN of 10 ingkil (normal? -20 mg/d1)
       and a serum creatinine level of 0.6 matd1 (normal 0.6 — 1.2 rsigidi).
             Wing her stay at this nursing home, Ms. Wareing's hydration status
       deteriorated. At a hospitalization immediately following her discharge from The
       Meadows, Ms. Wareing had an elevated serum BUN level of 22 nigidi and an
       elevated serum creatinine level of 1.27 mg/d1. Ms. Wareing's physician
       documented in the medical record that this patient's abnormally elevated serum.
       creatinine level was *more than double her baseline creatinine:
                                                                    •
             Ms. Wareing's overall condition continued to worsen due to the negligence
       she suffered while a resident of The Meadows Health and Rehabilitation Center.
       She left this nursing home for the final time on May 6, 2014. Following her fmal
       discharge from this nursing home, Ms. Wareing was first admitted to the hospital
       and then a spedaity vAlund care hospital due to the severity of her pressure sores.
       She required extensive treatment in these facilities as well as another riming home
       towhich she was ultimately admitted. Ms. Wareing had to have extensive care and
       treatment as a result of the illnesses and injuries she developed due to the
       negligence of The Meadows while she wean resident in their care. She ultimately
       required prolonged hospitalizations, extensive therapy, surgical procedures, a
       urinary bladder catheter (Foley catheter), and a percutsneouS endoscordoefiy-
       placed gastrostorny feeding tube (PEG tube).
             More likely than not and to a reasonable degree of medical and nursing.
       probability and certainty, Ms. Wareing will continue to suffer a loss of physical.
       function,, as well as other illnesses and complications as a result of the negligence
                                                 14
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 32 of 48 PageID 43




       from which she suffered while a resident In the care of The Meadows Health and
       Rehabilitation Center.

              As a direct cause. The Meadows Health and Rehabilitation Center in Dallas,
       Texas, and its staff failed to comply wth those standards set forth in paragraph
       numbers 2,4, 5,6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18,19, 20, 21, 22, and
       25. The failure to comply with these standards caused, within a reasonable degree
       of medical certainty, Mt Wareing to become dehydrated, which compounded her
       ability to fight infection and skin breakdown, and compromised her ability to heal
       her pressure sores and deteriorated her physical function. These problems could
       have, within a reasonable degree of medical and nursing. probability and dertainty.
       been prevented or detected/addressed earlier if these standards had been followed:
              To meet these standards, The Meadows Health and Rehabilitation Center
       and its staff were required to do the following:
              A. Recognize and act on an accurate assessment that Ms. Wareing was
                  at risk for dehydration as evidenced by her oral Intake records and
                abnormal laboratory testing.
              S. Act on the fact that Ms. Wareing was totally dependent on staff for
                  both anticipation of needs and physical assistance of all nourishment
                 Including fluids.
               C. Monitor her fluid intake and output each shift, which must be done '
                consistently and accurately for nurses. Physicians, and dieticians to
                evaluate her fluid needs and response to medications.
               D. Discover and consistently record her urine color, urine odor, and skin
                  turgor. presence of edema, and whether the mucous membranes
                were moist or dry.
              E. Timely notify the physician of changes, specifically weight loss or,
                 signs or symptoms of dehydration to prevent further cOmPlicationa
              F. Give Ms. Wareing food to eat and water to drink and help her eat
                 and drink.
                                     •
                     Dicubltus Ulcer or Pressure Sore Development
              Due to the failure of The MeadowS Health and Rehabilitation Center to
       property care for Ms. Lenoir Wareing, she developed decubitus ulcers or pressure
       sores over multiple parts of her body. When this resident first entered this nursing
       home, she was noted to be free of pressure sores or skin infections of any kind.
                                                15
    Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 33 of 48 PageID 44




          Due to the failure of this nursing home to employ appropriate measures to prevent
          pressure sores and decubitus ulcers, Ms. Lenoir Wareing developed multiple
          decubitus ulcers or pressure sores over different parts of her body, up to stage IV in
          size, which is the most severe stage. This residents pressure sores were so severe
          that following her final discharge from The Meadows, Ms. Wareing required a
          special wound-care consultation in the hospital for treatment of her pressure sores.
          She was found to have a large stage IV deep tissue injury or pressure sore over her
1         coccyx, along with a another deep tissue injury or pressure sore on her left foot

                While Ms. Wareing was a resident inthe care of The Meadows, the pressure
          sore over her sacrum was only described as Stage II in size at its worst on April 14,
          2014, The pressure sore on Ms. Wareing's foot was never mentioned in the
          records of The Meadows. On April 25, 2014, the nursing staff of The Meadows
          stated in the medical record that the pressure sore on Ms Wareing's sacrum was
          `•healed", It was not mentioned again as recurring in the medical record for the
          remainder of Ms Wareing's stay in The Meadows which ended with her discharge
          on May 6, 2014. On November 5, 2013. the Meadows nursing staff assessed Ms.
          Wareing as high risk for skin breakdown due to impaired mobility, incontinence.
          impaired cognition, and a Braden score of 18 or less. On December 12, 2013, Dr.
          Heather Elaine Adair ordered Ms. Wareing to be placed on a voiding schedule every
          2-3 hours during the day, Additionally, the care plan copied this order. and stated
          that Ms. Wareing should be turned and repositioned every two hours and as
          needed. During April and May 2014, there are no documentations or flowcharts that
          show turning and repositioning or an avoiding program. From April 1 thru May 6,
          2014, the nursing staff documented only on three shifts (April 8th, 13th, and 16th)
          that Ms. Wareing was turned and repositioned, and only four times that Ms.
          Wareing was voiding normally or in her brief. This was inconsistent with earlier
          entries where Ms. Wareing was assisted to the bathroom every two hours. Urine
          and excrement are caustic to the skin and prolonged exposure substantially
          increases the risk of skin break down_ Prolonged pressure on boney prominences
          including the sacrum or coccyx, or bones in the feet, also substantially increases the
          risk of skin breakdown due to reduced vascular supply The absence of the
          standards of care discussed above in The Meadows records demonstrate the direct
          causation between their failures and the pressure sores that, as a result developed
          on Ms. Wareing. Had the Meadows nursing staff followed the required standards
          above and the physician order for care, Ms. Wareing would more likely than not
          have remained free of pressure sores.

                Ms. Wareing's overall condition continued to worsen due to the negligence
          she suffered while a resident of The Meadows Health and Rehabilitation Center.
          She left this nursing home for the final time on May 6. 2014. Following her final
          discharge from this nursing home. Ms. Wareing was first admitted to the hospital
          and then a specialty wound care hospital due to the severity of her pressure sores.
          She required extensive treatment in these facilities as well as another nursing home
          to which she was ultimately admitted. Ms. Wareing had to have extensive care and

                                                    16
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                 Page 34 of 48 PageID 45




      treatment as a result of the illnesses and injuries she developed due to the
      negligence of The Meadows while she was a resident in their care She ultimately
      required prolonged hospitalizations, extensive therapy, surgical procedures, a
      urinary bladder catheter (Foley catheter), and a percutaneous endoscopically-
      placed gastrostomy feeding tube (PEG tube).

            More likely than not and to a reasonable degree of medical and nursing,
      probability and certainty. Ms. Wareing will continue to suffer a loss of physical
      function, as well as other illnesses and complications as a result of the negligence
      from which she suffered while a resident in the care of The Meadows Health and
      Rehabilitation Center.

             As a direct cause, The Meadows Health and Rehabilitation Center in Dallas,
      Texas, and its staff failed to comply with those standards set forth in paragraphs; 1,
      4,5, 6. 7. 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21. 22, and 26. The failure
      to comply with these standards caused, within a reasonable degree of medical and
      nursing, probability and certainty, Ms. Wareing to develop and suffer from skin
      breakdown. These problems could have, within a reasonable degree of medical and
      nursing, probability and certainty, been prevented or detected/addressed earlier if
      these standards had been followed.

             To meet these standards, The Meadows Health and Rehabilitation Center
      and its staff were required to do the following:

          A. Recognize by an accurate and complete assessment that Ms. Wareing was
             in fact at risk for skin breakdown which was related to her dependence on
             staff, poor oral intake, lack of mobility, and provide and document the
             indicated preventive and protective measures to avoid further breakdown.

          B. Provide and document the indicated preventive and protective measures
             to avoid further breakdown.

          C. Timely recognize, document, and report any changes in skin integrity.
             Provide treatment as ordered by the physician to the indicated area as
             outlined in the Plan of Care.

          0 The Meadows Health and Rehabilitation Center, its nurses and all staff
             members who contribute to patient medical records should record and
             maintain accurate medical records that appropriately and accurately
             describe the precise medical condition of a patient and the actions taken
             by the nursing home staff.

          E. All staff members of The Meadows Health and Rehabilitation Center who
              contribute to patient medical records should promptly note abnormal
              findings in a patient's medical record in order that the patient's physician

                                                 17
•

    Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 35 of 48 PageID 46




                 and others can address a patient's needs in a timely manner.

              F. Keep Ms. Wareing dean, dry, turned/repositioned, nourished, hydrated,
                 and free from skin breakdown

                               Development of Infections and Sepsis

                 The Meadows Health arkiRehabilitation Center failed to preVent and-property
          treat the infections of Ms: Lenoir Wareirva's urinary tract on Multiple ,occasions.
          These localized infections caused, more likety than not, Ms. Wanting Ulu develop
          sepsis, or a generalized infection of her bloodstream at least twice. MS. Wareing's'
          urinary tract infections and sepsis developed and became severe while a resident in
          the care of The Meadows. These infections required her to be hospitalized at least
          twice, once beginning February 1,2014 and again invnediately f011owing her final
          discharge from the Meadows on May 6, 2014.

                Ms. Warning's overall condition continued to worsen due to the negligence
          she suffered while a resident of The Meadows Health and Rehabilitation Center.
          She left this nursing home for the final time on May 6, 2014. Following her final
          discharge from this nursing home. Ms. Wareing was first admitted to the hospital
          and then a specialty wound care hospital due to the severity of her pressure sores.
          She required extensive treatment in these facilities as %veil as another nursing holm
          to which she was ultimately admitted. Ms. Wareing had to have extentive care and
          treatment as a result of the illnesses and injuries she developed due to the
          negligence of The Meadows white she was a resident in their care. She ultimately
          required extensive therapy, surgical procedures, a urinary bladder catheter (Foley
          cathebsr). and a percutaneous endostxcically-placed gastrostomy feeding tube
          (PEG tube).
                 More Rely than not and to a reasonable degree of medical and nursing,
          probability and certainty, Ms. Wareing will continue to suffer a loss of physical'
          function, as well as other illnesses and complications as a result of the negligence
          from which she suffered while a resident in the care of The Meadows Health and
          Rehabilitation Center.

                 As a dkect cause, The Meadows Health and Rehabilitation Center in Dallas.
          Texas. and Its staff failed to comply with those standards set forth In paragraphs: 4.
          5, 6, 7, 9. 10. 11. 12, 13, 14, 15, 16, 17,18. 19. 20, 21, 22, and 27. The failure to
          comply with these standards caused, within a reasonable degree of medical and
          nursing, probability and certainty, Ms. Wareing to develop infections, which
          compromised her overall health and well-being. These problems could have, within
          a reasonable degree of medical and nursing, probability and certainty, been
          prevented or detected/addressed earlier and cured if these standards had been
          followed.


                                                   11
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                  Page 36 of 48 PageID 47




               To meet the standards, The Meadows Health and Rehabilitation Center and
       its staff were required to de among other things the following:

           A. Recognize, plan for, and act on accurate assessments that Ms. Wareing
              .had a history of infections, %vas at risk for future infections related to a •
               poor nutritional intake, dependence on staff for assistance with intake,
               and poor

           B. Develop and act on a plan of care to minimize the risk for developing
              infections.

           C Monitor her fhtid intake and output each shift, which must be done
              consistently and accurately for nurses, physicians, and dieticians to.
              evaluate her fluid needs for prevention of complications such as
              infections.

           O. Use proper hygiene and sanitary technique.

                                            SUMMARY
      I have been advised that Reg/Vence' means:
            Negligence, when used with respect to The conduct of a medical fatality
            means failure to use orrinary cant that is, failing to do that which a
            medical facility of ordinary prudence would have done under the same or
            similar circumstances or doing that which a medical facility of ordinary
            prudence would not have done under the same orshnitar circumstances.



      I have been advised "pmximate cause* mans:

             That cause which, in a natural and continuous sequence. produces an
             event, and without cause such event would - not have occurred. In order to
             be a proximate cause, the act or omission complained of must be such
             that a health care facility, using Ottililaq VIM would have foreseen that
             the event or some similar event might reasonably result there from. There
             may be mom than one proximate cause of an event.          •

              Ms, Lenoir Wareing was an adult female. who had been living Independently
       at home print to her hospitalization for stroke which immediately preceded her
       admission to The Meadows Health and Rehabilitation Center in OaDas, Texas. She
       entered this nursing facility primarily to receive minimal assistance with activities of.
       daily living. At the time of admission she was documented as being freeborn skin
       wounds, pressure sores, decubitus ulcers or skin infections of any kind. Ms.
                                                  19
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16                Page 37 of 48 PageID 48




       Wareing was alert and oriented to person, place, and time, and her hearing and
       vision were adequate. She was able to express her needs and feed herself. Her
       underlying condition of diabetes was controlled with medication, and had no
       contribution in Ms. Wareing developing pressure sores. The admitting medical
       records from The Meadows Health and Rehabilitation Center document that Ms.
       Wareing had no medical conditions that would have caused her unavoidably to
       develop and suffer from malnutrition. dehydration, decubitus ulcers or pressure
       sores, infections or sepsis. She had no history of any medical condition that would
       have significantly COMpromised her vascular system, or made two excessively prone
       to develop the conditions listed above.

              More likely than not, this fafliava on the part of The Meadows Health and
       Rehabilitation Center in Dallas. Texas, to practice in an acceptable manner directly
       resulted in Ms Lenoir VVareing's malnutrition, dehydration, decublins ulcers or
       pressure sores, infections and sepsis, injuries, illnesses and their complications,
       prolonged hoeptializations, extensive therapy, surgical procedures, a urinary bladder
       catheter (Foley catheter), and a percutaneous endoscopically-placed gastrostorny
       feeding tube (PEG tube), as well as overall worsening of her condition, unnecessary
       and preventable pain, mental anguish, and loss of dignity. As more specifically set
       forth above, the actions or inactions of this facility, caused the conditions and
       complications described above.
              In summary, The Meadows Health and Rehabilitation Center in Dallas. Texas,
       did not meet the standard of care in its treatment of Ms. LenOir Wareing. it is my
       opinion, based on my medical education, experience, and training and based upon
       a reasonable degree of medical and nursing. probability and certainty that these
       negfigent acts and omissions as stated above proximately caused Ms. Wareing's
       malnutrition, dehydration, decubitus Lacers or pressure sores, infections and sepsis.
       injuries, illnesses, and their complications, prolonged hospitalizations, extenshe
       therapy, surgical procedures, a urinary bladder catheter (Foley catheter), and a
       percutaneous endoscopically-placed gastsostomy feeding tube (PEG tube), overall
       worsening of her condition, as well as unnecessary and preventable pain, suffering.
       mental anguish, and loss of dignity. It is my opinion that The Meadows Health and
       Rehabilitation Center in Dallas, Texas, knew that its failure to meet the standards of
       care would put Ms. Wareing at extreme risk of harm and knew that this failure to
       meet these standards would INcely cause complications or injuries to Ms. Wareing.
       Nevertheless, The Meadows Health and Rehabilitation Center still failed to follow
       the above standards. Had the standards of care been followed by The Meadows
       Health and Rehabilitation Center, more likely than not and based upon a reasonable
       degree of medical and nursing, probability and certainty, Ms. Lenoir Wareing would
       not have suffered the malnutrition, dehydration. decubitus ulcers or pressure sores,
       infections and sepsis, injuries, illnesses, prolonged hospitalizations, extensive
       therapy, surgical procedures, a urinary bladder catheter (Foley catheter), and a
       percutaneous endoscopically-ptaced gastrostorny feeding tube (PEG tube), along
       with their complications, as well as overall worsening of her condition, unnecessary
                                                20
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16               Page 38 of 48 PageID 49




      and preventable pain, suffering, mental anguish, and toss of dignity.

             I reactive the right to amend or add to my opinions upon review of new
      records, testimony, or facts, as they become available, or upon further review of
      existing records, testimony or facts.




                                           Kitt(E. Miller, M.D.
                                           620 Tenaha Street
                                           Center, Texas 75935
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16     Page 39 of 48 PageID 50




                           CURRICULUM VITAE



                             KEITH E. MILLER, M.D.



                               620 Tanana Street

                              Center, Texas 75935

                                (936) 598-2716
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16           Page 40 of 48 PageID 51




                             KEITH E. MILLER, M.D.

                                  -EDUCATION
                              Chief Resident, 7/87 to 6/88
                   University of Arkansas Medical Sciences Campus
                    Area Health Education Center, South Arkansas
                                  El Dorado, Arkansas

                       Family Practice Residency, 7/86 to 6/88
                   University of Arkansas Medical Sciences Campus
                    Area Health Education Center, South Arkansas
                                  El Dorado, Arkansas

                        Family Practice internship, 7/85 to 6/86
                                 University Hospital
                                Little Rock, Arkansas

                       Doctor of Medicine Degree. 8/81 to 5/85
                      University of Arkansas College of Medicine
                                 Little Rock, Arkansas

                                 Attended, 8/80 to 5/81
                  University of Arkansas at Little Rock, School of Law
                                 Little Rock, Arkansas

                             Bachelor of Arts, 8/76 to 5/79
                               German and Chemistry
                                 Baylor of University
                                    Waco, Texas

                                Attended, 8/75 to 5/76
                                Biology and Chemistry
                              East Texas Baptist College
                                   Marshall, Texas

                         Shelbyville High School, 8/71 to 5/75
                                  Shelbyville, Texas




                                           2
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16             Page 41 of 48 PageID 52




                               KEITH E. MILLER, M.D.

                               -PRACTICE ACTIVMES-
                 Full lime Family Medicine Practice, July 1988 to Present

                               Commissioner, 9/03 to 9/01
              Texas State Board of Medical Examiners / Texas Medical Board
                         State Medical Licensing Board of Texas

               Physician Consultant for Physician Peer Review, 8/90 to 9/03
                         Texas State Board of Medical Examiners
                         State Medical Licensing Board of Texas

          Member, Texas Statewide Medical Advisory Committee, 8/96 to Present
                            Blue Cross/Blue Shield of Texas
      Performs Physician Peer Review for All Blue Cross/Blue Shield Patients in Texas

                                President, 1990 to Present
                              Shelby County Medical Society

             Advisory Committee Member and Clinical Faculty, 8/90 to Present
                         School of Licensed Vocational Nursing
                                    ?mole College
                                     Center, Texas

             Member,, Board of Directors, and Medical Director, 8/90 to Present
                         Shelby County Child Advocacy Center
                                      Center, Texas

                                    2014 to Present
                            Family Medicine Service Privileges
                             Memorial Hospital San Augustine
                                  San Augustine, Texas

                                    2014 to Present
                            Family Medicine Service Privileges
                              Nacogdoches Medical Center
                                  Nacogdoches, Twos
V



    Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16            Page 42 of 48 PageID 53




                                  KEITH E. MILLER, M.D.


                         -PRACTICE ACTIVITIES (CONTINUED).
                Former Physician Reviewer, Texas Medical Foundatkm, 8/90 to 8/03
           Performs Physician Peer Review/Quality Assurance for Medicare and Champus

                         Former Clinical Faculty, Preceptor, 8/90 to 8/03
                          University of Texas Health Sciences Center
                             Family Practice Residency Program
                                          Tyler, Texas
                       Former Director of Emergency Services, 8/90 to 8/03
                               Shelby Regional Medical Center
                                         Center, Texas
                                     Former Chief of Staff
                                Shelby Regional Medical Center
                                        Center, Texas
                                       July 1988 to 2013
                           Full Time Active Family Practice Privileges
                                Shelby Regional Medical Center
                                         Center, Texas
                                   September 2010 to Present
                                        Medical Director
                                    Legacy Hospice of Center
                                         Center, Texas
                                    March 2011 to Present
                                   Assistant Medical Director
                                   The Hospice of East Texas
                                          Tyler, Texas
                                      July 1988 to Present
                           Full Time Active Family Practice Privileges
                                     Holiday Nursing Home
                                         Center, Texas
4.‘

      Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16          Page 43 of 48 PageID 54




                                   KEITH E. MILLER, M.D.


                          -PRACTICE ACTIVITIES (CONTINUED)-
                                       July 1988 to,Present
                            Full Time Active Family Practice Privileges
                                    Pine Grove Nursing Home
                                          Center, Texas

                                       July 1988 to Present
                            Full Time Active Family. Practice Privileges
                                    Green Acres Nursing Home
                                           Center, Texas

                                       July 1988 to Present
                            Full Time Active Family Practice Privileges
                                    Twin Lakes Nursing Home
                                      San Augustine, Texas

                                       July 1988 to Present
                            Full Time Active Family Practice Privileges
                                   Colonial Pines Nursing Home
                                      San Augustine Texas

                                        July 1988 to Present
                            Full Time Active Family Practice Privileges
                             Trinity Nursing and Rehabilitation Center
                                       San Augustine, Texas

                                       July '1988 to Present
                           Full Time Active Family Practice Privileges
                                 El Camino House Nursing Home
                                      San Augustine, Texas

                                   December 2013 to Present
                           Full Time Active Family Practice Privileges
                                 Lakeside Village Assisted Living
                                         Center, Texas
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16            Page 44 of 48 PageID 55




                               KEITH E. MILLER, M.D.


                     -PRACTICE ACTIVITIES (CONTINUED).
                                March 2012 to Present
                                   Medical Director
                           Bethany Home Health Care Agency
                                   Carthage, Texas

                              January 2014 to Present
                                 Medical Director
                                  Jennings Place
                            Assisted Living Facility end
      Home and Community-Based Services Program for Adults with Mental Disabilities
                                  Center, Texas


                           •BOARD CERTIFICATIONS -
                      American Board of Family Medicine, 10 53861

                              Certification Date July 8, 1988

                           Re-Certification Date July 14, 1995

                           Re-Certification Date July 12, 2002

                           Re-Certification Date July 15,2010
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16           Page 45 of 48 PageID 56




                             KEITH E. MILLER, M.D.

                     - PROFESSIONAL CERTIFICATIONS -
                     Hospice Medical Director Certified (HMDC)
                     Hospice Medical Director Certification Board
                              July 8, 2014 to Present

                            Certified Medical Review Officer
                      Medical Review Officer Certification Council
                      United States Department of Transportation
                United States Department of Health and Human Services
                              Certified February 21,2006
                              Re-certified March 24, 2012

                               Certified Medical Examiner
                      Federal Motor Carrier Safety Administration
                      United States Department of Transportation
                United States Department of Health and Human Services
                              Certified February 11.2014

                          FeDow (AAFP), 1990 to Present
                       American Academy of Family Physicians

                              American Heart Association
                                    CPR Instructor
                       Advanced Cardiac Ufa Support instructor
                       Pediatric Advanced Life Support Provider


                       - PROFESSIONAL AFFILIATIONS -
                            American Medical Association

                            Southern Medical Association

                       American Academy of Family Physicians

                              Texas Medical Association

                           Shelby County Medical Society
                                          7
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16          Page 46 of 48 PageID 57




                             KEITH E. MILLERt M.D.


                          - VOLUNTEER ACTIVITIES -

                               Texas State Legislature
                         Physician of the Day, 1989 to Present

                Coordinator, Free Physicals Programs, 1988 to Present
                               Department of Athletics
                  Center Independent School District, Center, Texas
                           Team Physician, 1988 to Present
                               Department of Athletics
                          Center Independent School District

                    Vice-President, Board of Trustees, 1990 to 1999
                   Center Independent School District, Center, Texas

                               Preceptor, 1990 to Present
                Texas Statevvide Medical Student Preceptorship Program

                            Member, Development Council
                                Baylor University

                 Former Member, Committee on Rural Health Concerns
                            Texas Medical Association

                      Former Member, Committee on Rural Health
                         Texas Academy of Family Physicians



                                   -LICENSURE-
                       State of Texas (H-2155), 8187 to Present

                     Formerly Licensed in Arkansas and Louisiana
Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16           Page 47 of 48 PageID 58




                             KEITH E. MILLER, M.D.

                                    - AWARDS -
                       Texas Academy of Physician Assistants
                       Supervising Physidan of the Year - 2004

                            American Medical Association
                            Physician's Recognition Award

                      American Academy of Family Physicians
                   Award for Clinical instruction of Medical Students

                       Center independent School District
                    Community Service Award for Contributions to
                        Student Academics and Athletics

                      Anderson County Educational Cooperative
                      Service Award for Organizing Programs for
                              Special Services Students

                              Texas State Legislature
                        Award of Appreciation for Serving as
                      Physician W. Legislators While in Session


                                - PUBUCATIONS
                    *Use of Dirmin in the Family Practice Setting"
                      Journal of the Arkansas Medical Society
                                   February 1988
4   atc„
           Case 3:16-cv-02045-N Document 1-2 Filed 07/13/16              Page 48 of 48 PageID 59




                                           KEITH E. MILLER, M.D.

                                                 • ARTICLES -

                                 "More Doctors in Texas After Malpractice Cape
                                                New York Times
                                                October 6, 2007
                        Story of Texas Medical Board Responding to Increased Licensing
                       Demands During My Tenure as Chairman of the Licensing Committee

                                              *Dangerous Doctors*
                                                 Reader's Digest
                                                   June 2004
                               Background Story of Texas Medical Board Prior to My
                                        Appointment as a Commissioner

                                        *Dangerous Doctors — Follow-Up"
                                                 Reader's Digest
                                                    March 2005
                                 Follow-up Story of Texas Medical Board After My
                 Appointment as a Commissioner Incitxting Motion Made by Me for the Largest Fine
                                  Levied Against a Doctor by any State In History

                                              °No Medicinal Jet Fuel"
                                                  Texas Medicine
                                                   August 2009
                Story of My Filing of Complaint Against a Physician for Non-Therapeutic Prescribing


                                                = PERSONAL -
                                      Married to Linda Gee Miller since 1975
                   Interests Are Health-Care Reform and Finance Issues, in America and Abroad
                                  Speaks Fluent German and Passable Spanish
                                      Instrument-Rated Private Aircraft Pilot

                                          Umpire, High School Baseball
                                                        10
